                    IN TIIE UNITED STATES DISTRICT COURT
                FOR TIIE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DMSION
                                No. 5:20-CR-520-D


UNITED STATES OF AMERICA                   )
                                           )
                v.                         )                     ORDER
                                           )
MAURICE D. SHACKLEFORD,                    )
                                           )
                           Defendant.      )

                                                                                     ·~,
       On November 22, 2021, the court held a hearing concerning defendant Maurice D.

Shackleford's motion to suppress. See [D.E. 26]; see also [D.E. 27] (government's response in

opposition); [D.E. 30] (defendant's reply). As explained in open court and incorporated by

reference, the court DENIES defendant's motion to suppress [D.E. 26].

       SO ORDERED. This 2 2.. day of November, 2021.




                                                    ~SC.DEVER ill
                                                    United States District Judge




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